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               IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF KANSAS


UNITED STATES OF AMERICA,

                        Plaintiff,

vs.                                       Case No. 09-40031-01/02-SAC

GONZALO P. MALDONADO and
MANUEL GARCIA a/k/a
Tomas Pimental-Legrand,

                        Defendants.


                       MEMORANDUM AND ORDER

      This case comes before the court on defendant Garcia's motion in

limine which seeks to exclude certain evidence from his upcoming trial,

including: 1) a video and testimony about a prior traffic stop in Thomas

County, Kansas, in which the defendant was a passenger in the same

vehicle that was stopped on the date of the charged offense; 2) all

testimony about defendant’s post-arrest interview with a DEA agent which

referred to that prior stop. The government opposes the motion.

Motion in Limine Standards

      A motion in limine gives a court the chance “ ‘to rule in advance of

trial on the relevance of certain forecasted evidence, as to issues that are

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definitely set for trial, without lengthy argument at, or interruption of, the

trial.” ’ Palmieri v. Defaria, 88 F.3d 136, 141 (2nd Cir.1996) (quoting

Banque Hypothecaire Du Canton De Geneve v. Union Mines, Inc., 652

F.Supp. 1400, 1401 (D.Md.1987)); see also see United States v. Cline, 188

F.Supp.2d 1287, 1291-1292 (D.Kan. 2002). Though such rulings can save

time, cost, effort and preparation, a court is almost always better situated

during the actual trial to assess the value and utility of evidence. Thus, the

in limine exclusion of evidence should be reserved for those instances

when the evidence plainly is “inadmissible on all potential grounds.”

Townsend v. Benya, 287 F.Supp.2d 868, 872 (N.D.Ill. 2003). The better

judicial practice is to defer rulings on relevancy and unfair prejudice

objections until trial when the factual context is developed. See Sperberg v.

Goodyear Tire & Rubber Co., 519 F.2d 708, 712 (6th Cir.), cert. denied,

423 U.S. 987 (1975); see, e.g., United States v. Lawless, 153 F.3d 729,

1998 WL 438662, at *4 (10th Cir.), cert. denied, 525 U.S. 1027 (1998).

      A trial court may alter its limine ruling based on developments at trial

or on its own sound judicial discretion. Luce v. United States, 469 U.S. 38,

41 (1984). Some in limine rulings, like those involving Rule 403, “are

necessarily preliminary because the required balancing may be reassessed


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as the evidence actually comes in.” United States v. Martinez, 76 F.3d

1145, 1152 (10th Cir.1996) (citing United States v. Mejia-Alarcon, 995 F.2d

982, 987 n. 2 (10th Cir.), cert. denied, 510 U.S. 927 (1993)). “A district

court ‘may change its ruling at any time for whatever reason it deems

appropriate.” ‘ Martinez, 76 F.3d at 1152 (quoting Jones v. Stotts, 59 F.3d

143, 146 (10th Cir.1995)).

      Rule 404(b)

      Though inadmissible to prove a defendant's character and the

inference that the defendant acted consistent with that character, evidence

of other crimes, wrongs, or acts may be admitted “for other purposes, such

as proof of motive, opportunity, intent, preparation, plan, knowledge,

identity, or absence of mistake or accident.” Fed.R.Evid. 404(b). As

instructed by the Supreme Court in Huddleston v. United States, 485 U.S.

681, 691-92 (1988), the court applies a four-part test to determine

admissibility under 404(b):

      (1) the evidence was offered for a proper purposes under Fed.R.Evid.
      404(b); (2) the evidence was relevant under Fed.R.Evid. 401; (3) the
      probative value of the evidence was not substantially outweighed by
      its potential for unfair prejudice under Fed.R.Evid. 403; and (4) the
      district court, upon request, instructed the jury to consider the
      evidence only for the purpose for which it was admitted.

United States v. Wilson, 107 F.3d 774, 782 (10th Cir.1997).

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      Prior stop of vehicle

      The sole charge against this defendant arises from a February 17,

2009 traffic stop on I-70 in Ellsworth County, Kansas of a vehicle registered

in California. Defendant Garcia, a passenger in the vehicle, is charged with

possession with intent to distribute methamphetamine. The primary issue

at trial will be whether the defendant knew the methamphetamine was in

the vehicle and intended to distribute it.

Video of February 6, 2009 stop

      At the suppression hearing, Trooper Wolting testified that he learned

from his dispatcher during the traffic stop which gave rise to the present

charge that the same California vehicle had been stopped eleven days

earlier for a traffic violation in Thomas County, Kansas. Testimony at the

suppression hearing did not establish whether this defendant was in the

vehicle when it was stopped in Thomas County, or any other facts relating

to that stop. By this motion, defendant contends that he was a passenger in

the vehicle when it was stopped in Thomas County on February 6, 2009,

and that the stop was videotaped. He contends that the driver was issued a

citation for speeding, that the trooper asked for and was given permission

to search the vehicle, and that despite a search no contraband was found.


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      Defendant moves the court to preclude use at trial of the video of the

February 6, 2009 stop because it contains certain irrelevant and prejudicial

matters. This matter is moot because the government states in its response

that it will not seek to admit the video at trial.

      Defendant additionally contends that any testimony about the prior

stop violates Rule 404(b) because it is offered solely for the purpose of

associating the defendant with prior bad acts by others and suggesting that

the defendant was involved in transporting drugs on a prior occasion,

despite the lack of any evidence of drug trafficking in the prior stop.

Defendant additionally contends that all references to the prior stop are

inadmissible because they are unreliable, irrelevant, prejudicial, and would

confuse the jury.

      The government seeks to present the following evidence regarding

the prior stop to show defendant’s knowledge of the type of activity he was

engaged in, his intent, and the absence or mistake in placing himself in the

circumstances that led to his arrest:

      1) Testimony by Trooper Wolting that during the instant stop he

learned that the same California car had been stopped in Kansas

approximately two weeks prior, and the impact of that knowledge on his


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decisions and activities;

      2) Testimony by co-defendant Gonzalo Maldonado that he

understood the car driven in the instant stop belonged to someone named

Alvino or Albino; and

      3) Testimony by officers regarding the defendant’s admissions and

reactions during his post-Miranda interview which include defendant’s

statement that Alvino was a “drug guy.”

      The court fails to see the relevance at this time of Trooper Wolting’s

proffered testimony, although it is not clear that the defendant is

challenging it. The Trooper was unaware that this defendant was a

passenger in the prior stop, and unaware of other facts linking this

defendant to any “drug guy.” Although the Trooper’s knowledge that the

same vehicle had recently been stopped in Kansas may have contributed

to his suspicion that the vehicle was involved in drug trafficking, his

decisions and activities are not at issue in the trial and have not been

shown to be probative of this defendant’s knowledge, intent, or absence of

mistake for 404(b) purposes.

      Defendant seeks to preclude use at trial of statements made about

the prior vehicle stop when the defendant was interviewed by DEA agent


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Zac Cherrington after defendant’s February 17, 2009 arrest on the current

charge. During that interview, the defendant indicated that on the February

6th trip he had traveled with a person known as Alvino, and Alvino’s wife.

The defendant stated that Alvino did most of the driving on that trip

because the defendant did not have a driver’s license. The defendant told

Agent Cherrington that if the agent would call Alvino, Alvino could verify the

details of the prior trip.

      Later in the interview, Agent Cherrington falsely told the defendant

that he had called Alvino during a break, that he had told Alvino that the

defendant was in custody, and that Alvino had responded that he did not

know the defendant and hung up the phone. Upon hearing this, the

defendant yelled that Alvino was a “drug guy and they lie.” The defendant

then quickly regained his composure and said he meant that Alvino was a

drug user, that Alvino and his wife use many different types of drugs, and

that Alvino was always in court. The agent then suggested that Alvino had

been on the first trip to show the defendant a route, and the defendant

responded that Alvino drove all over the country with people from the

neighborhood and had originally been going to come on the current trip to

pay his citation for the prior trip, but had changed his mind.


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      Knowledge is at issue when a defendant denies participation in and

awareness of a criminal act. “The admissibility of prior acts evidence to

prove knowledge is based on the inference that a defendant is likely to

have gained the requisite criminal knowledge after repeated instances of

conduct.” United States v. Delay, 2004 WL 433808, at *2 (D.Kan. Feb.6,

2004) (citing 2 Jack B. Weinstein & Margaret A. Berger, Weinstein's

Federal Evidence, § 404.22[2] (2d ed.2003)). Rule 404(b) permits the

introduction of other crimes to demonstrate a defendant's “intent to commit

a crime by demonstrating a common scheme or plan.” United States v.

Roberts, 185 F.3d 1125, 1141 (10th Cir.1999), cert. denied, 529 U.S. 1108

(2000). These purposes are proper in the present case.

      Relevance is a closer question, since no drugs were found in the

prior car stop. Evidence of prior drug involvement is relevant when it relates

to a matter that is at issue in the case. United States v. Hardwell, 80 F.3d

1471,1489 (10th Cir. 1996). The general rule in this circuit is “‘prior

narcotics involvement is relevant when that conduct is close in time, highly

probative, and similar to the activity with which the defendant is charged.’ ”

United States v. Becker, 230 F.3d 1224, 1232 (10th Cir. 2000) (quoting

United States v. Wilson, 107 F.3d 774, 785 (10th Cir.1997)), cert. denied,


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532 U.S. 1000 (2001). Here, the prior car stop occurred merely eleven

days before the instant offense. The court finds the conduct to be similar to

the activity with which the defendant is charged, despite the fact that no

drugs were found during the February 6th search of the vehicle, based on

defendant’s statements that he knew Alvino, (the driver of the car

previously stopped), that Alvino was a “drug guy,” that Alvino lied when he

said he did not know the defendant, and that Alvino drove all over the

country with people from the neighborhood. Additionally, Maldonado will

testify that the California car he drove during the instant offense in which

the defendant was a passenger, was owned by Alvino or Albino. Defendant

was a passenger in both car stops, and in both stops, the car was owned

by Alvino. The prior stop is highly probative of defendant’s knowledge,

intent to distribute, and lack of mistake.

      Defendant notes that the Spanish interpreter was not present during

his entire post-arrest interview and asserts that his own English skills are

insufficient to permit him to carry on a conversation of the detail and

complexity used in his post-arrest interview. The government states

Sergeant Jerry Castro, a Spanish-speaking officer the Ellsworth County,

served as a Spanish interpreter as needed during that interview, that he


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was present throughout the defendant’s interview, but that the defendant

chose not to use his services, choosing instead to respond in English to the

questions before any translation could be done. The Court understands

that the interpreter is listed as a witness, thus the parties will be able to

inquire into this factual matter at trial if they so desire. No need to preclude

the defendant’s statements based on his lack of understanding has been

shown.

      Relevant evidence may be excluded if its probative value is

substantially outweighed by the danger of unfair prejudice. Fed.R.Evid.

403. Evidence is unfairly prejudicial not because it is merely damaging to a

party's case, but because it will have an “ ‘undue tendency to suggest

decision on an improper basis, commonly, though not necessarily, an

emotional one.’ ” United States v. Martinez, 938 F.2d 1078, 1082 (10th Cir.

1991) (quoting Fed.R.Evid. 403 advisory committee's note). The court finds

that the evidence the government seeks to admit is not unfairly prejudicial.

      The court intends to issue a limiting instruction to the jury regarding

its use of evidence regarding the prior stop.

      IT IS THEREFORE ORDERED that the defendant’s motion in limine

(Dk. 45) is denied, subject to reconsideration at trial.


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Dated this 28th day of September, 2009.



                  s/ Sam A. Crow
                   Sam A. Crow, U.S. District Senior Judge




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